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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRIC'I` OF PENNSYLVANIA

IVAN WHITE,
Plaintiff, Civil Action No. 1:16~CV~Q675
V. (}udge Mannio_n)
DARRELL WIREMAN, er al., (Magistrate Judge Carlson)
Defendants :
OR})ER
AND NOW, this _ day of , 2018, upon consideration

of the DOC Defendants’ Motion for Leave to Depose a Prisoner, it is hereby
ORDERED that said Motion is GRANTED. The Defendants may depose lve.n
Whic@, 131-2221 Wizhin the Sta:e oonecrional system

BY THE COURT:

 

Martin C. Carlson
United States Magistrate Judge

